     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 1 of 31 Page ID #:1



        1   Andrew O. Smith, Esq., SBN 217538
            Carey J. Ramin, Esq., SBN 300610
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            11622 El Camino Real, Suite 300
        3   San Diego, CA 92130
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            E-mail: aosmith@pettitkohn.com
        5           cramin@pettitkohn.com
        6   Attorneys for Defendant
            WALMART INC.
        7

        8                          UNITED STATES DISTRICT COURT
        9                         CENTRAL DISTRICT OF CALIFORNIA
       10

       11   DENIZ FELIX-LIN,                           CASE NO.: 2:22-cv-4354
       12                         Plaintiff,
                                                      NOTICE OF REMOVAL OF
       13   v.                                        ACTION PURSUANT TO 28 U.S.C.
                                                      SECTIONS 1332 AND 1441(a) and (b)
       14   WALMART, INC.; WALMART
            STORE #2292 AND DOES 1 TO 20,             Courtroom:
       15   INCLUSIVE,                                District Judge:
                                                      Magistrate Judge:
       16                         Defendants.         Complaint Filed: March 15, 2022
                                                      Trial Date:       Not Set
       17

       18   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
       19         PLEASE TAKE NOTICE that Defendant WALMART INC. (“Walmart”), by
       20   and through its counsel, hereby removes the above-entitled action filed by Plaintiff
       21   DENIZ FELIX-LIN (“Plaintiff”) in the Superior Court of the State of California,
       22   County of Los Angeles, Case No. 22STCV09208, to the United States District
       23   Court, Central District of California, pursuant to 28 U.S.C. §1441, and respectfully
       24   alleges as follows:
       25         1.     On March 15, 2022, an action was commenced in the Superior Court
       26   of the State of California, County of Los Angeles, entitled Deniz Felix-Lin v.
       27   Walmart Inc., et al., Case Number 22STCV09208 (“the State Action”). A copy of
       28   the summons and complaint filed in the State Action is attached hereto as Exhibit 1.
2354-9559                                             1
                                                              NOTICE OF REMOVAL OF ACTION
                                                                        CASE NO. 2:22-CV-4354
     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 2 of 31 Page ID #:2



        1         2.     Plaintiff’s complaint asserts causes of action for general negligence
        2   and premises liability. (Exhibit 1.)
        3         3.     The complaint seeks to recover compensatory damages according to
        4   proof, including wage loss, hospital and medical expenses, general damage,
        5   property damage, loss of earning capacity, and pre and post judgment interest.
        6   (Exhibit 1, page 3.)
        7                  DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332 (A)
        8         4.     This Court has jurisdiction over this matter under 28 U.S.C. § 1332 (a)
        9   (1), because there is complete diversity as the parties are citizens of different states,
       10   and the amount in controversy exceeds $75,000.00. Removal is therefore proper
       11   pursuant to 28 U.S.C. §§ 1441 (a) and (b).
       12         5.     Plaintiff is a citizen of the State of California. Plaintiff is domiciled in
       13   California and presently does not have plans to move out of the state of California.
       14   A copy of Walmart’s Requests for Admission and Plaintiff’s verified responses are
       15   attached hereto as Exhibit 2, and Walmart’s Special Interrogatories and Plaintiff’s
       16   verified responses are attached hereto as Exhibit 3.
       17         6.     Walmart is a citizen of Delaware where it is incorporated, and of
       18   Arkansas, where it holds its principal place of business (in Bentonville, Arkansas).
       19   Copies of Walmart’s corporate information from the California Secretary of State
       20   Business Search and the Arkansas Secretary of Business/Commercial Services are
       21   attached hereto as Exhibits 4 and 5, respectively.
       22         7.     Plaintiff also improperly named “Walmart Store #2292” as a defendant
       23   in this action. “Walmart Store #2292” is not a real entity. “Walmart Store #2292” is
       24   merely the internal name for the store operated by Walmart. Walmart has already
       25   appeared in the matter and is the Walmart entity associated with the operation of
       26   the store where Plaintiff’s incident occurred. A copy of a search on the California
       27   Secretary of State Business Search showing no entity under the name “Walmart
       28   Store #2292” is attached hereto as Exhibit 6.
2354-9559                                               2
                                                                 NOTICE OF REMOVAL OF ACTION
                                                                           CASE NO. 2:22-CV-4354
     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 3 of 31 Page ID #:3



        1         8.     Plaintiff claims the amount in controversy exceeds $75,000.
        2   (Exhibit 2, Plaintiff’s response to Request for Admission No. 1.)
        3         9.     Plaintiff’s response to written discovery regarding Plaintiff’s
        4   California citizenship and amount in controversy was served to Walmart on
        5   May 31, 2022. Removal is timely under 28 U.S.C. section 1446 (b) because this
        6   Notice of Removal is filed within 30 days of Walmart receiving the responses to
        7   discovery showing that the case is removable.
        8         10.    Because the State Action is pending in the Superior Court of California
        9   in and for the County of Los Angeles, removal of this action to this District Court is
       10   proper under 28 U.S.C. section 1441 (a).
       11         11.    Written notice of the filing of this Notice of Removal will be promptly
       12   served on Plaintiff. A true and correct copy of this Notice of Removal and the
       13   concurrently-filed Notice of Interested Parties and Civil Cover Sheet will be filed
       14   with the Clerk of the Superior Court of the State of California in and for the County
       15   of Los Angeles as soon as practicable.
       16         WHEREFORE, Walmart requests that the above-entitled action be removed
       17   from the Superior Court of the State of California, County of Los Angeles, to this
       18   District Court.
       19                                   PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
       20

       21   Dated: June 24, 2022            By:      s/ Carey J. Ramin
                                                     Andrew O. Smith, Esq.
       22                                            Carey J. Ramin, Esq.
                                                     Attorneys for Defendant
       23                                            WALMART INC.
                                                     aosmith@pettitkohn.com
       24                                            cramin@pettitkohn.com
       25

       26

       27

       28
2354-9559                                               3
                                                               NOTICE OF REMOVAL OF ACTION
                                                                         CASE NO. 2:22-CV-4354
            Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 4 of 31 Page ID #:4
Electronically FILED by Superior Court of California, County of Los Angeles on 03/15/2022 09:01 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
                                                                                       22STCV09208

                                                    SUMMONS                                                                                                           SUM-100
                                          (CITACION JUDICIAL)                                                                             FOR COURT USE ONLY
                                                                                                                                      (SOLO PARA USO DE LA CORTE)

     NOTICE TO DEFENDANT: WALMART, INC.; WALMART STORE
     (AVISO AL DEMANDADO): #2292 AND DOES 1 THROUGH 20,
     INCLUSIVE,




     YOU ARE BEING SUED BY PLAINTIFF: DENIZ FELIX-LIN,
     (LO ESTÁ DEMANDANDO EL DEMANDANTE):



      NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
      below.
         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
      served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
      Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
      the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
      may be taken without further warning from the court.
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
      referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
      these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
      (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
      costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
      ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
      continuación
        Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
      corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
      en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
      Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
      biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
      que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
      podrá quitar su sueldo, dinero y bienes sin más advertencia.
        Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
      remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
      programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
      (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
      colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
      cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
      pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
     The name and address of the court is:                                                                               CASE NUMBER:
     (El nombre y dirección de la corte es):                                                                             (Número del Caso):

     LOS ANGELES COUNTY SUPERIOR COURT
     312 N. SPRING STREET
     LOS ANGELES, CA 90012
     The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
     (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
     KRYSTALE ROSAL SBN 272531                                                                                   626-856-5856                     626-386-5520
     FIORE LEGAL, INC.
     136 E. LEMON AVENUE                                                                    Sherri R. Carter Executive Officer I Clerk of Court
     MONROVIA, CA 91016
    DATE: 03.11512022                                                    Clerk, by              R. Clifton                                                            , Deputy
    (Fecha)                                                              (Secretario)                                                                                   (Adjunto)
    (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
    (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
     [SEAL]                          1. D as an individual defendant.
                                     2. D as the person sued under the fictitious name of (specify):

                                               3.   D     on behalf of (specify):

                                                    under:    D   CCP 416.10 (corporation)                                   D     CCP 416.60 (minor)
                                                              D   CCP 416.20 (defunct corporation)                           D     CCP 416.70 (conservatee)
                                                              D   CCP 416.40 (association or partnership)                    D     CCP 416.90 (authorized person)
                                                              D   other (specify):
                                              4.    D     by personal delivery on (date):                                                                                 Page 1 of 1
      Form Adopted for Mandatory Use
                                                                                   SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
        Judicial Council of California
       SUM-100 [Rev. July 1, 2009]
                                                                                                                       soru1¥&is-
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                                                                                                                                                                                 Exhibit 1
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                 Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 5 of 31 Page ID #:5
Electronically FILED by Superior Court of California, County of Los Angeles on 03/15/20~~g9it\fo~]Jgrri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk

                                          Assigned for all purposes to: Spring Street Courthouse , Judicial Officer: Daniel Crowley                                    PLD-Pl-001
     ATTORNEY OR PARTY W ITHOUT ATTORN EY (Name, State Bar number, and address):                                                                  FOR COURT USE ONLY
    KRYSTALE ROSAL SBN 27253 1
   -FI ORE LEGAL, I NC .
    136 E . LEMON AVENUE
    MONROVIA, CA 91016

                TELEPHONE NO      62 6 - 8 5 6 - 5 8 5 6           FAX NO. (Optional)   62 6 - 3 8 6 - 5 52 0
    E-MAIL ADDRESS/Optiona/J:     krosa l @fiorelegal . com
       ATTORN EY FOR /Name):      PLAINT I FF
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF       LOS ANGELES
            STREET AD DRESS:     312 N . SPRING STREET
            MAILING ADDRESS:     SAME
           CITYANDZIP CODE       LOS ANGELES , CA 90012
                 BRANCH NAME:
                 PLAINTIFF:       DENIZ FELI X-LI N,


                DEFENDANT:       WALMART ,         INC.; WALMART STORE #22 92 AND


      X DOES1TO 20 , INCLUSIVE,
     COMPLAINT-Personal Injury, Property Damage, Wrongful Death
             AMENDED (Number):
     Type (check all that apply):
           MOTOR VEHICLE                             X OTHER (specify):                 PREMISES LIABILITY
               Property Damage                                 Wrongful Death
            X Personal Injury                                  Other Damages (specify):

      Jurisdiction (check all that apply):
            ACTION IS A LIMITED CIVIL CASE                                                                                          CASE NUMBER:

            Amount demanded                does not exceed $10,000                                                                   2 2ST CV O 9 20 8
                                           exceeds $10,000, but does not exceed $25,000
        X   ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
            ACTION IS RECLASSIFIED by this amended complaint
                  from limited to unlimited
                  from unlimited to limited
      1. Plaintiff(nameornames):DENIZ FELIX-LIN,

           alleges causes of action against defendant (name or names) : WALMART ,                             INC. ; WALMART S TORE # 2 2 9 2

      2. This pleading, including attachments and exhibits, consists of the following number of pages:        5
      3. Each plaintiff named above is a competent adult
         a.        except plaintiff (name) :
             (1)         a corporation qualified to do business in California
             (2)         an unincorporated entity (describe) :
             (3)         a public entity (describe) :
             (4)         a minor           an adult
                  (a)        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                  (b)        other (specify) :
             (5)        other (specify) :


           b.           except plaintiff (name):
                (1)         a corporation qualified to do business in California
                (2)         an unincorporated entity (describe) :
                (3)            a public entity (describe) :
                (4)            a minor              an adult
                       (a)         for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                       (b)         other (specify):
                (5)            other (specify) :


                      Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                            Page 1 of 3
    Form Approved for Optiona l Use
     Judicial Council of California
                                                             COMPLAINT-Personal Injury, Property                                  Legal                Code of Civil Procedure, § 425.12

   PLD-Pl-001 [Rev. January 1. 2007)                             Damage, Wrongful Death                                         Solueigns·
                                                                                                                                    G.h_Plus

                                                                                                                                                                                           Exhibit 1
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       Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 6 of 31 Page ID #:6
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                                                                                                                                 Exhibit 1
                                                                                                                                         6
         Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 7 of 31 Page ID #:7

                                                                                                                                 PLD-Pl-001
    SHORT TITLE: FE L IX -L IN V .                  WALMART ,   I NC .; E T AL.                                 CASE NU MB ER:




 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a.       Motor Vehicle
     b. X     General Negligence
     c.       Intentional Tort
     d.       Products Liability
     e. X     Premises Liability
     f.       Other (specify) :




 11 . Plaintiff has suffered
      a. X       wage loss
      b.         loss of use of property
      c. X       hospital and medical expenses
      d. X       general damage
      e. X       property damage
      f.  X      loss of earning capacity
      g. X other damage (specify): PRE AND POST JUDGMENT I NTE RE S T




 12.             The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       a.         listed in Attachment 12.
       b.         as follows :




 13. The relief sought in this complaint is within the jurisdiction of this court.



 14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
       a. (1)  X   compensatory damages
          (2)      punitive damages
          The amount of damages is (in cases for personal injury or wrongful death, you must check (1 )) :
          (1)  X   according to proof
          (2)      in the amount of: $


 15.            The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




 Date:      03/08/2022



 MAURO F I ORE                  JR .
                           (TYPE OR PRI NT NAM E)                                    ►
PLD-Pl-00 1 (Rev. January 1, 2007]                                                                                                  Page 3 of 3
                                                      COMPLAINT-Personal Injury, Property
                                                          Damage, Wrongful Death


                                                                                                                                              Exhibit 1
                                                                                                                                                      7
        Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 8 of 31 Page ID #:8

                                                                                                                                     PLD-Pl-001 (2)
SHORT TITLE :            FEL IX-L IN V . WALMART , I NC .; ET AL.                                        CASE NU MBER:




           FIRS T                                      CAUSE OF ACTION-General Negligence                                    Page _ 4_ __
                       (number)
        ATTACHMENT TO                      X       Complaint       Cross - Complaint


        (Use a separate cause of action form for each cause of action.)


        GN-1 . Plaintiff (name) :              DENIZ FELIX - LIN ,

                   alleges that defendant (name) :             WALMART, INC .; WALMART STORE #22 92 AND




                                 X      Does   1          to   20 , INCLUSIVE ,

                   was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
                   negligently caused the damage to plaintiff
                   on (date) :          03/24/2020
                   at(place):           1275 N. AZ USA AVE ., COVINA , CA 91722

                   (description of reasons for liability):
DEFENDANTS NEGL I GENTLY , CARE LESSLY AND RECKLESSLY HIRED , EMPLOYED , TRAINED AND
RETAINED THEIR EMPLOYEE WHO WHILE OPERATING A PALLET JACK DURING THEIR SCOPE OF
THEIR EMPLOYMENT FOR DEFENDANT , STRUCK PLAINTIFF WITH THE PALLET JACK . AS A
RES ULT PLAINT I FF SUSTAINED DAMAGES AND PHYSICAL INJURIES AS ALLEGED HEREIN .




                                                                                                                                           Pa e 1 of 1
  Form Approved for Optional Use                                                                                         Code of Civil Procedure 425.12
   Judicial Counci l of Californ ia
PLD-Pl -001(2) [Rev. January 1, 2007]
                                                     CAUSE OF ACTION-General Negligence




                                                                                                                                                          Exhibit 1
                                                                                                                                                                  8
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                                                                                                                                           PLD-Pl-001(4'
SHORT TITLE:        FE LIX -L IN             V .   WALMART,      I NC .; ET AL.                               CAS E NUMBER:




      SECOND                                          CAUSE OF ACTION-Premises Liability                                         Page ~ 5_ __
                         (number)

   ATTACHMENT TO                       X     Complaint           Cross-Complaint
   (Use a separate cause of action form for each cause of action.)


   Prem.L-1.         Plaintiff (name) : DENIZ FELI X- LI N,
                     alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                     On (date): 0 3 I 2 4 / 2 0 2 0                  plaintiff was injured on the following premises in the following

                     fashion (description of premises and circumstances of injury):
                    DE FENDANTS NEGLI GENTLY, CARELESSLY AND RECKLESS LY HI RED, EMPLOY ED,
                    TRAINED AND RETAINED THEIR EMPLOYEE WHO WHILE OPERATING A PALLET JACK
                    DURING THE IR SCOPE OF THEI R EMP LOYMENT FOR DEFENDAN T, STRUCK PLAINTIFF
                    WITH THE PALLE T J ACK . AS A RESULT PLAI NTI FF SUSTAI NED DAMAGES AND
                    PHYSICAL I NJURI ES AS AL LE GED HE REI N .




    Prem.L-2.              X    Count One--Negligence The defendants who negligently owned , maintained, managed and operated
                                the described premises were (names): WALMART STORE #22 92 AND



                                  X        Does =
                                                1____ to =2~0_ __

    Prem.L-3.                    Count Two--Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                                 or maliciously failed to guard or warn against a dangerous condition , use, structure , or activity were
                                 (names) :


                                       Does _ _ _ _ to _ _ __
                                 Plaintiff, a recreational user, was            an invited guest        a paying guest.

    Prem.L-4.                    Count Three--Dangerous Condition of Public Property The defendants who owned public property
                                 on which a dangerous condition existed were (names):



                                                   Does _ _ _ _ to
                                 a.           The defendant public entity had         actual            constructive notice of the existence of the
                                              dangerous condition in sufficient time prior to the injury to have corrected it.
                                 b.           The condition was created by employees of the defendant public entity.

    Prem.L-5. a.           X     Allegations about Other Defendants The defendants who were the agents and employees of the
                                 other defendants and acted within the scope of the agency were (names) : WALMART STORES ,
                                INC .; WALMART STORE #2292 AND

                                  X        Does =1_ _ _ to 2 0
                    b.           The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                     described in attachment Prem.L-5.b        as follows (names) :



                                                                                                                                                     Page 1 of 1
     Form Approved for Optional Use
       Judicial Council of California                CAUSE OF ACTION-Premises Liability                         L~al          Code of Civil Proced ure , § 425. 12

    PLD-Pl -00 1(4) [Rev. January 1, 2007]                                                                    Solutigns·
                                                                                                                ~ Plus

                                                                                                                                                                     Exhibit 1
                                                                                                                                                                             9
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        1    Andrew N. Kohn, Esq., SBN 166385
             Carey J. Ramin, Esq., SBN 300610
        2    PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
             11622 El Camino Real, Suite 300
        3    San Diego, CA 92130
             Telephone: (858) 755-8500
        4    Facsimile: (858) 755-8504
             E-mail: akohn@pettitkohn.com
        5            cramin@pettitkohn.com

        6    Attorneys for Defendant
             WALMART INC.
        7
        8                               SUPERIOR COURT OF CALIFORNIA
        9                                        COUNTY OF LOS ANGELES
       10

       11    DENIZ FELIX-LIN,                                   CASE NO.: 22STCV09208
       12                           Plaintiff,                  DEFENDANT WALMART INC.’S
                                                                REQUESTS FOR ADMISSION
       13    v.                                                 PROPOUNDED TO PLAINTIFF
                                                                DENIZ FELIX-LIN
       14    WALMART, INC.; WALMART STORE
             #2292 AND DOES 1 TO 20, INCLUSIVE,                 (SET ONE)
       15
                                    Defendants.
       16
                                                                Dept.:          28
       17                                                       Judge:          Hon. Daniel M. Crowley
                                                                Filed:          March 15, 2022
       18                                                       Trial:          Not set
       19
       20   PROPOUNDING PARTY:                   Defendant WALMART INC.

       21   RESPONDING PARTY:                    Plaintiff DENIZ FELIX-LIN

       22   SET NUMBER:                          ONE (1)

       23          Defendant WALMART INC. (“Defendant”), pursuant to Code of Civil Procedure section

       24   2033.010 et seq., requests that Plaintiff DENIZ FELIX-LIN (“Plaintiff”) admit the truth to the

       25   following specified matters of fact, opinion relating to fact, or application of relative fact, and

       26   return the signed responses within thirty days of service of this Requests for Admission.

       27          Pursuant to Code of Civil Procedure section 2033.210 et seq., Plaintiff shall respond in

       28   writing under oath separately to each request or set forth an objection to the particular request.
2354-9559
                                                              1
                        DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                      PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                                  Exhibit 2
                                                                                                                        10
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        1   Each answer in response shall be as “complete and straightforward as the information reasonably

        2   available to the responding party permits.” Moreover, each response shall comply with the strict
        3   requirements of Code of Civil Procedure section 2033.010 et seq. Additionally, Defendant

        4   formally gives notice of its intent to recover expenses incurred in proving matters not admitted by

        5   Plaintiff that Defendant later proves the truth of, pursuant to Code of Civil Procedure section

        6   2033.420 et seq.

        7                                     REQUESTS FOR ADMISSION
        8   REQUEST FOR ADMISSION NO. 1:

        9         Admit the amount on controversy for this matter exceeds $75,000.

       10   REQUEST FOR ADMISSION NO. 2:

       11         Admit that YOU have lived in California for more than ten years. (As used herein, “YOU” or

       12   “YOUR” means Plaintiff DENIZ FELIX-LIN.)

       13   REQUEST FOR ADMISSION NO. 3:

       14            Admit that YOU have worked in California for more than ten years.

       15   REQUEST FOR ADMISSION NO. 4:

       16          Admit that YOU do have no plans on moving out of the state of California.

       17   REQUEST FOR ADMISSION NO. 5:

       18            Admit that YOU are domiciled in California.

       19   REQUEST FOR ADMISSION NO. 6:

       20          Admit that in the last five years, YOU have paid California taxes.

       21   REQUEST FOR ADMISSION NO. 7:

       22          Admit that in the last five years, YOU have not paid taxes in any other states.

       23   REQUEST FOR ADMISSION NO. 8:

       24          Admit that DEFENDANT was not negligent in this matter. (As used herein,

       25   “DEFENDANT” refers to Defendant WALMART INC. and its agents, employees, insurance

       26   companies, and their agents, their employees, their attorneys, their accountants, their investigators,

       27   and anyone else acting on their behalf.)

       28   ///
2354-9559
                                                                 2
                        DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                      PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                                Exhibit 2
                                                                                                                      11
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        1   REQUEST FOR ADMISSION NO. 9:

        2          Admit that DEFENDANT breached no duty to YOU on the date of the INCIDENT. (As
        3   used herein, “INCIDENT” includes the circumstances and events surrounding the alleged
        4   occurrences giving rise to this action as alleged in YOUR COMPLAINT. “COMPLAINT” means

        5   the operative Complaint filed by YOU in this action, DENIZ FELIX-LIN v. WALMART INC.,
        6   Superior Court of the State of California for the County of Los Angeles, Case Number

        7   22STCV09208.)
        8   REQUEST FOR ADMISSION NO. 10:
        9          Admit that YOU were not injured as a result of the INCIDENT.

       10   REQUEST FOR ADMISSION NO. 11:

       11          Admit that there were caution signs, carts or other warning objects in the area where the

       12   alleged INCIDENT occurred prior to the INCIDENT.

       13   REQUEST FOR ADMISSION NO. 12:

       14          Admit that a DEFENDANT employee gave YOU verbal warnings prior to the INCIDENT

       15   occurring.

       16   REQUEST FOR ADMISSION NO. 13:

       17          Admit that YOU do not possess any photographs, videos, films or depictions that depict or

       18   describe the injuries YOU contend, were caused by the INCIDENT.

       19   REQUEST FOR ADMISSION NO. 14:

       20          Admit that YOUR injuries were caused, in whole, by YOU.

       21   REQUEST FOR ADMISSION NO. 15:

       22          Admit that YOUR injuries were caused, in part, by YOU.

       23   REQUEST FOR ADMISSION NO. 16:

       24          Admit that YOU failed to exercise reasonable care in relation to the INCIDENT.

       25   REQUEST FOR ADMISSION NO. 17:

       26          Admit that YOU were aware of the alleged dangerous condition at DEFENDANT's

       27   premises.

       28   ///
2354-9559
                                                           3
                         DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                       PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                          Exhibit 2
                                                                                                                12
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        1   REQUEST FOR ADMISSION NO. 18:

        2          Admit that DEFENDANT did not have actual notice of the dangerous condition YOU allege
        3   caused the INCIDENT
        4   REQUEST FOR ADMISSION NO. 19:

        5          Admit that DEFENDANT did not have constructive notice of the dangerous condition YOU

        6   allege caused the INCIDENT.

        7   REQUEST FOR ADMISSION NO. 20:

        8          Admit that the injuries YOU alleged were caused by the INCIDENT were not the result of

        9   a dangerous condition.

       10   REQUEST FOR ADMISSION NO. 21:

       11          Admit that YOU did not receive any medical care or treatment within the period of time six

       12   (6) months prior to the INCIDENT.

       13   REQUEST FOR ADMISSION NO. 22:

       14          Admit that YOU did not receive any medical care or treatment in the last ten (10) years that

       15   related to the same parts of YOUR body that were allegedly injured in the INCIDENT.

       16   REQUEST FOR ADMISSION NO. 23:

       17          Admit that YOU do not need any further medical care as a result of the alleged INCIDENT.

       18   REQUEST FOR ADMISSION NO. 24:

       19          Admit that YOU saw the Walmart employee with the pallet jack before the INCIDENT.

       20   REQUEST FOR ADMISSION NO. 25:

       21          Admit that on the date of the INCIDENT, YOU failed to move away from the pallet jack

       22   when YOU saw the Walmart employee.

       23   REQUEST FOR ADMISSION NO. 26:

       24          Admit that YOU did not incur past wage loss as a result of the INCIDENT.

       25   REQUEST FOR ADMISSION NO. 27:

       26          Admit that YOU will not incur future wage loss as a result of the INCIDENT.

       27   REQUEST FOR ADMISSION NO. 28:

       28          Admit YOU have no loss of earning capacity as a result of the INCIDENT.
2354-9559
                                                         4
                       DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                     PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                              Exhibit 2
                                                                                                                    13
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        1   REQUEST FOR ADMISSION NO. 29:


            I
        2          Admit that YOU have not missed any time at YOUR work as a result of the INCIDENT.
        3   REQUEST FOR ADMISSION NO. 30:
            I
        4          Admit that YOU did not seek work accommodations as a result of the INCIDENT.

        5   REQUEST FOR ADMISSION NO. 31:
            I


        6          Admit YOU are not making a claim of mental distress over and above that usually

        7   associated with the physical injuries claimed in this litigation.

        8   REQUEST FOR ADMISSION NO. 32:
            I




        9            Admit YOU are not making a claim of emotional distress over and above that usually

       10    associated with the physical injuries claimed in this litigation.

       11                                                  PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
       12




                                                                     ~
                                                                                 r
       13   Dated: April 29, 2022                          By:       ________________________________
                                                                     Andrew N. Kohn, Esq.
       14                                                            Carey J. Ramin, Esq.
                                                                     Attorneys for Defendant
       15                                                            WALMART INC.
       16
       17
       18

       19
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       21

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2354-9559
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                        DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                      PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                          Exhibit 2
                                                                                                                14
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        1                                       PROOF OF SERVICE
                                          Deniz Felix-Lin v. Walmart Inc., et al.
        2                      Los Angeles County Superior Court Case No. 22STCV09208
        3             I, the undersigned, declare that:
        4          I am and was at the time of service of the papers herein, over the age of eighteen (18)
            years and am not a party to the action. I am employed in the County of San Diego, California,
        5   and my business address is 11622 El Camino Real, Suite 300, San Diego, California 92130.
        6             On April 29, 2022, I caused to be served the following document:
        7         •   DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION
                      PROPOUNDED TO PLAINTIFF DENIZ FELIX-LIN (SET ONE)
        8
        9   [X]       BY ELECTRONIC DELIVERY (Code Civ. Proc. § 1010.6 and Cal. Rules of Court,
                      rule 2.251): Based on an agreement between the parties to accept service by e-mail or
       10             electronic transmission, I caused such document(s) to be electronically served to those
                      parties listed below from e-mail address lzamora@pettitkohn.com. The file transmission
       11             was reported as complete and a copy of the Service Receipt will be maintained with the
                      original document(s) in our office.
       12

       13   Krystale Rosal, Esq.
            FIORE LEGAL, INC.
       14   136 E. Lemon Avenue
            Monrovia, CA 91016
       15   Tel: (626) 856-5856
            Fax: (626) 386-5520
       16   Email: krosal@fiorelegal.com
            Attorneys for Plaintiff
       17   DENIZ FELIX-LIN

       18
                   I declare under penalty of perjury under the laws of the State of California that the
       19   foregoing is true and correct.

       20             Executed on April 29, 2022, at San Diego, California.

       21

       22                                                 Luis Zamora

       23

       24

       25

       26

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       28
2354-9559
                                                              6
                          DEFENDANT WALMART INC.’S REQUESTS FOR ADMISSION PROPOUNDED TO
                                        PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                             Exhibit 2
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       DE




       Mauro Fiore, Jr., Esq., State Bar No. 196857
   1   Krystale Rosal, Esq., State Bar No. 272531
   2
       FIORE LEGAL, INC.
       136 E. Lemon Ave.
   3   Monrovia, CA 91016
       Telephone No.: (626) 856-5856
   4
       Facsimile No.: (626) 386-5520
   5
       Attorneys for Plaintiff, DENIZ FELIX-LIN
   6

   7
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
   8
                                       COUNTY OF LOS ANGELES
   9

  10

       DENIZ FELIX-LIN,                              )   Case No.: 22STCV09208
  11                                                 )   [Assigned to Hon. Daniel M. Crowley
                                                     )   Dept. 28]
  12                 Plaintiff,                      )
                                                     )   PLAINTIFF’S RESPONSES TO
  13         v.                                      )   DEFENDANT’S REQUEST FOR
                                                     )
  14                                                 )   ADMISSIONS, SET NO. ONE
       WALMART, INC.; WALMART                        )
  15   STORE#2292, AND DOES 1 TO 20,                 )   Complaint Filed: March 15, 2022
       INCLUSIVE,                                    )   Trial Date: September 12, 2023
  16
                                                     )
                                                     )
                     Defendants.                     )
  17
                                                     )
  18

  19          PROPOUNDING PARTY:             Defendant, WALMART, INC.
  20          RESPONDING PARTY:              Plaintiff, DENIZ FELIX-LIN

  21          SET NO.:                       ONE (1)

  22
              Pursuant to the Code of Civil Procedure § 2033.210 et. seq., Plaintiff, DENIZ FELIX-LIN,
  23
       hereby responds to Defendant, WALMART, INC.’s Request for Admissions, Set No. One, as
  24
       follows:
  25
                                      PRELIMINARY STATEMENT
  26
              Plaintiff has responded to all requests to the extent that information is presently known.
  27   However, discovery, investigation and preparation for trial in this matter has not been completed
  28                                                1
                                  PLAINTIFF’S RESPONSES TO DEFENDANT’S
                                  REQUEST FOR ADMISSIONS, SET NO. ONE


                                                                                                     Exhibit 2
                                                                                                           16
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        as of the date of these responses, and therefore does not purport to state herein anything more than
   1
        information presently known or discovered. Plaintiff reserves the right to continue discovery and
   2
        investigation in this matter for facts, witnesses, and supporting data that may reveal information,
   3
        which if had been previously within her knowledge, would have been included in these responses.
   4
        Consequently, Plaintiff is not precluded from presenting evidence at trial relating to discovery taken
   5    after the date of this response. This preliminary statement is incorporated into each of these
   6    responses set forth in full.
   7                            RESPONSES TO REQUESTS FOR ADMISSION
   8    RESPONSE TO REQUEST FOR ADMISSION NO. 1:
   9            Admit.
   10   RESPONSE TO REQUEST FOR ADMISSION NO. 2:
   11           Deny.
   12   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

   13           Deny.

   14   RESPONSE TO REQUEST FOR ADMISSION NO. 4:

   15           Admits in part. Presently, plaintiff has no plans on moving out of California.

   16
        RESPONSE TO REQUEST FOR ADMISSION NO. 5:

   17
                Admit.
        RESPONSE TO REQUEST FOR ADMISSION NO. 6:
   18
                Admit.
   19
        RESPONSE TO REQUEST FOR ADMISSION NO. 7:
   20
                Admit.
   21
        RESPONSE TO REQUEST FOR ADMISSION NO. 8:
   22
                Deny.
   23
        RESPONSE TO REQUEST FOR ADMISSION NO. 9:
   24
                Deny.
   25
        RESPONSE TO REQUEST FOR ADMISSION NO. 10:
   26
                Deny.
   27
        ///
   28                                                    2
                                       PLAINTIFF’S RESPONSES TO DEFENDANT’S
                                       REQUEST FOR ADMISSIONS, SET NO. ONE


                                                                                                           Exhibit 2
                                                                                                                 17
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         RESPONSE TO REQUEST FOR ADMISSION NO. 11:
     1
              Deny.
     2
         RESPONSE TO REQUEST FOR ADMISSION NO. 12:
     3
              Deny.
     4
         RESPONSE TO REQUEST FOR ADMISSION NO. 13:
     5
              Deny.
     6
         RESPONSE TO REQUEST FOR ADMISSION NO. 14:
     7
              Deny.
     8
         RESPONSE TO REQUEST FOR ADMISSION NO. 15:
     9
              Deny.
    10   RESPONSE TO REQUEST FOR ADMISSION NO. 16:
    11        Deny.
    12   RESPONSE TO REQUEST FOR ADMISSION NO. 17:
    13        Deny.
    14   RESPONSE TO REQUEST FOR ADMISSION NO. 18:
    15        Deny.
    16   RESPONSE TO REQUEST FOR ADMISSION NO. 19:
    17        Deny.
    18   RESPONSE TO REQUEST FOR ADMISSION NO. 20:

    19        Deny.

    20   RESPONSE TO REQUEST FOR ADMISSION NO. 21:

    21        Admit.

    22   RESPONSE TO REQUEST FOR ADMISSION NO. 22:

    23        Admit.

    24   RESPONSE TO REQUEST FOR ADMISSION NO. 23:

    25        Deny.

    26
         RESPONSE TO REQUEST FOR ADMISSION NO. 24:

    27
              Deny.

    28                                        3
                            PLAINTIFF’S RESPONSES TO DEFENDANT’S
                            REQUEST FOR ADMISSIONS, SET NO. ONE


                                                                                  Exhibit 2
                                                                                        18
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         RESPONSE TO REQUEST FOR ADMISSION NO. 25:
     1
              Deny.
     2
         RESPONSE TO REQUEST FOR ADMISSION NO. 26:
     3
              Admit.
     4
         RESPONSE TO REQUEST FOR ADMISSION NO. 27:
     5
              Admit.
     6
         RESPONSE TO REQUEST FOR ADMISSION NO. 28:
     7
              Admit.
     8
         RESPONSE TO REQUEST FOR ADMISSION NO. 29:
     9
              Admit.
    10   RESPONSE TO REQUEST FOR ADMISSION NO. 30:
    11        Admit.
    12   RESPONSE TO REQUEST FOR ADMISSION NO. 31:
    13        Admit.
    14   RESPONSE TO REQUEST FOR ADMISSION NO. 32:
    15        Admit.
    16   DATED:   May 31, 2022                     FIORE LEGAL, INC.
    17

    18

    19
                                                    ¼--P
                                               By:_____________________-
                                                   Mauro Fiore, Jr., Esq.
    20
                                                   Krystale Rosal, Esq.
    21                                             Attorneys for Plaintiff,
                                                   DENIZ FELIX-LIN
    22

    23

    24

    25

    26

    27

    28                                             4
                                 PLAINTIFF’S RESPONSES TO DEFENDANT’S
                                 REQUEST FOR ADMISSIONS, SET NO. ONE


                                                                                  Exhibit 2
                                                                                        19
    CaseDocument
Vinesign 2:22-cv-04354-FMO-MAR    Document 1 Filed 06/24/22 Page 20 of 31 Page ID #:20
                  ID: 127B8A2E-3214-414F-8296-0BF9C36A0DB4
                                                                VERIFICATION
        STATE OF CALIFORNIA, COUNTY OF Los Angeles
           I have read the foregoing Plaintiff's Responses to Defendant's Request for Admissions, Set No. One
                                                                                                            and know its contents.
                                            DX       CHECK APPLICABLE PARAGRAPHS
   DX        I am a party to this action. The matters stated in the foregoing document are true of my own knowledge except as to
        those matters which are stated on information and belief, and as to those matters I believe them to be true.
   D         I am D an Officer D a partner --- □ a                                                  of
                                                                                                                                         ,
        a party to this action, and am authorized to make this verification for and on its behalf, and I make this verification for that
        reason.    D     I am informed and believe and on that ground allege that the matters stated in the foregoing document are
        true. D The matters stated in the foregoing document are true of my own knowledge, except as to those matters which are
        stated on information and belief, and as to those matters I believe them to be true.
   D         I am one of the attorneys for
                                                                                                                                         ,
        a party to this action. Such party is absent from the county of aforesaid where such attorneys have their offices, and I make
        this verification for and on behalf of that party for that reason. I am informed and believe and on that ground allege that
        the matters stated in the foregoing document are true.
        Executed on                  May 31, 2022                    , at                    Montclair                       , California.
        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                              Deniz Felix-Lin
                                Type or Print Name                                                               Signature
                                                           PROOF OF SERVICE
                                                              1013a (3) CCP Revised 5/1/88


        STATE OF CALIFORNIA, COUNTY OF
            I am employed in the county of                                                                                      , State of California.
        I am over the age of 18 and not a party to the within action; my business address is:

             On,                                       I served the foregoing document described as


                                                         on                                                                               in this action
  D     by placing the true copies thereof enclosed in sealed envelopes addressed as stated on the attached mailing list:
  D     by placing  D     the original D a true copy thereof enclosed in sealed envelopes addressed as follows:




  D     BY MAIL
            D *I deposited such envelope in the mail at                                                                        , California.
             The envelope was mailed with postage thereon fully prepaid.
            D As follows: I am "readily familiar" with the firm's practice of collection and processing correspondence for mailing.
        Under that practice it would be deposited with U.S. postal service on that same day with postage thereon fully prepaid at
                                                          California in the ordinary course of business. I am aware that on motion of the
        party served, service is presumed invalid if postal cancellation date or postage meter date is more than one day after date of
        deposit for mailing in affidavit.
        Executed on                                        , at                                                                , California.
  D          **(BY PERSONAL SERVICE) I delivered such envelope by hand to the offices of the addressee.
        Executed on                                        , at                                                                , California.
  D     (State)     I declare under penalty of perjury under the laws of the State of California that the above is true and correct.
  D     (Federal) I declare that I am employed in the office of a member of the bar of this court at whose direction the service was
                     made.

                                 Type or Print Name                                                             Signature
                                                                                    *(BY MAIL SIGNATURE MUST BE OF PERSON DEPOSITING ENVELOPE IN
                                                                                       MAIL SLOT, BOX, OR BAG)
                                                                                  **(FOR PERSONAL SERVICE SIGNATURE MUST BE THAT OF MESSENGER)
                                                                                                                              Legal           Rev. 7/99
                                                                                                                            Solut:igns·
                                                                                                                              ~Plus

The signed document can be validated at https://app.vinesign.com/Verify
                                                                                                                                                       Exhibit 2
                                                                                                                                                             20
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                                          PROOF OF SERVICE
  1                                  [C.C.P. Sections 1013a and 2015.5]

  2          I am employed in the County of Los Angeles, State of California. I am over the age of 18
      years and not a party to the within action. My business address is 136 E. Lemon Avenue,
  3   Monrovia, CA 91016.

  4           On May 31, 2022, I served the following documents: PLAINTIFF’S RESPONSES TO
      DEFENDANT’S REQUEST FOR ADMISSIONS, SET NO. ONE on the interested parties to
  5   this action, by placing a true copy thereof in an envelope addressed as shown below, by the
      following means of service:
  6

  7    Andrew N. Kohn, Esq.                                 Counsel for Defendant, WALMART, INC.
       Carey J. Ramin, Esq.
  8    PETTIT KOHN INGRASSIA LUTZ &
       DOLIN PC
  9
       11622 El Camino Real, Suite 300
 10    San Diego, CA 92130
       Telephone: (858) 755-8500
 11    Facsimile: (858) 755-8504
 12
       Email: akohn@pettitkohn.com
       Email: cramin@pettitkohn.com
 13

 14   [XX] ONLY BY ELECTRONIC TRANSMISSION: Only by e-mailing the document(s) to the
      person at the e-mail address(es) listed based on notice that, during the Coronavirus (COVID-19)
 15   pandemic, this office will be working remotely, not able to send physical mail as usual, and is
      therefore only using electronic mail. No electronic message or other indication that the
 16   transmission was unsuccessful was received within a reasonable time after transmission.

 17   [    ] BY FACSIMILE: From facsimile number 626-386-5520, I caused each document to be
      transmitted by facsimile machine, to the parties and numbers indicated above, pursuant to Rule
 18   2008. The facsimile machine I used to complied with rule 2003(3) and no error was reported by
      the machine. Pursuant to Rule 1008(e)(4), I caused the machine to print a record of the
 19
      transmission, a copy of which is attached hereto.
             I declare, under penalty of perjury under the laws of the State of California, that the
 20   foregoing is true and correct.
 21          Executed on May 31, 2022, at Monrovia, California.
 22
                                                    /s/
 23
                                            ________________
 24
                                              Johnny Alvarez
 25

 26

 27

 28                                                5
                                 PLAINTIFF’S RESPONSES TO DEFENDANT’S
                                 REQUEST FOR ADMISSIONS, SET NO. ONE
                                                                                                       Exhibit 2
                                                                                                             21
    Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 22 of 31 Page ID #:22


        1    Andrew N. Kohn, Esq., SBN 166385
             Carey J. Ramin, Esq., SBN 300610
        2    PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
             11622 El Camino Real, Suite 300
        3    San Diego, CA 92130
             Telephone: (858) 755-8500
        4    Facsimile: (858) 755-8504
             E-mail: akohn@pettitkohn.com
        5            cramin@pettitkohn.com

        6    Attorneys for Defendant
             WALMART INC.
        7
        8                              SUPERIOR COURT OF CALIFORNIA
        9                                       COUNTY OF LOS ANGELES
       10

       11    DENIZ FELIX-LIN,                                CASE NO.: 22STCV09208
       12                          Plaintiff,                DEFENDANT WALMART INC.’S
                                                             SPECIAL INTERROGATORIES
       13    v.                                              PROPOUNDED TO PLAINTIFF DENIZ
                                                             FELIX-LIN
       14    WALMART, INC.; WALMART STORE
             #2292 AND DOES 1 TO 20, INCLUSIVE,              (SET ONE)
       15
                                   Defendants.
       16
                                                             Dept.:         28
       17                                                    Judge:         Hon. Daniel M. Crowley
                                                             Filed:         March 15, 2022
       18                                                    Trial:         Not set
       19
       20   PROPOUNDING PARTY:                     Defendant WALMART INC.
       21   RESPONDING PARTY:                      Plaintiff DENIZ FELIX-LIN
       22   SET NUMBER:                            ONE (1)
       23          Defendant WALMART INC. (“Defendant”), by and through its attorneys, Pettit Kohn
       24   Ingrassia Lutz & Dolin PC, hereby requests that Plaintiff DENIZ FELIX-LIN (“Plaintiff”)
       25   respond to the following interrogatories separately and fully in writing and under oath pursuant
       26   to Code of Civil Procedure section 2030.010 et seq., and that the responses be signed by the
       27   person making them and be served on Pettit Kohn Ingrassia Lutz & Dolin PC, located at
       28   11622 El Camino Real, Suite 300, San Diego, California, within the time required by law.
2354-9559
                                                          1
                       DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                     PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                               Exhibit 3
                                                                                                                     22
     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 23 of 31 Page ID #:23


        1   Defendant refers to sections 1 through 4 of Judicial Council Official Form Interrogatories which

        2   are specifically incorporated herein by reference.
        3                                  SPECIAL INTERROGATORIES

        4   SPECIAL INTERROGATORY NO. 1:

        5          Are YOU a citizen of California? (As used herein, “YOU” or “YOUR” means Plaintiff

        6   DENIZ FELIX-LIN.)

        7   SPECIAL INTERROGATORY NO. 2:

        8          Do YOU intend to move out of California in the next five years?

        9   SPECIAL INTERROGATORY NO. 3:

       10          Do YOU intend to live in California indefinitely?

       11   SPECIAL INTERROGATORY NO. 4:

       12          Do YOU contend that your alleged damages resulting from the INCIDENT amount to

       13   more than $75,000? (As used herein, “INCIDENT” includes the circumstances and events

       14   surrounding the alleged occurrences on March 24, 2020 giving rise to this action as alleged in

       15   YOUR COMPLAINT. “COMPLAINT” means the operative Complaint filed by YOU in this

       16   action, DENIZ FELIX-LIN v. WALMART INC., Superior Court of the State of California for the

       17   County of Los Angeles, Case Number 22STCV09208.)

       18   SPECIAL INTERROGATORY NO. 5:

       19          Please state each and every way YOU contend that DEFENDANT was negligent. (As

       20   used herein, “DEFENDANT” refers to Defendant WALMART INC. and its agents, employees,

       21   insurance companies, and their agents, their employees, their attorneys, their accountants, their

       22   investigators, and anyone else acting on their behalf.)

       23   SPECIAL INTERROGATORY NO. 6:

       24          Please IDENTIFY all persons who support YOUR contention that DEFENDANT was

       25   negligent. (As used herein, “IDENTIFY” means by name, address, and phone number.)

       26   SPECIAL INTERROGATORY NO. 7:

       27          Please IDENTIFY each and every person who accompanied YOU to DEFENDANT’s

       28   premises on the date of the INCIDENT.
2354-9559
                                                              2
                       DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                     PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                                Exhibit 3
                                                                                                                      23
      Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 24 of 31 Page ID #:24


        1   SPECIAL INTERROGATORY NO. 8:

        2          Please IDENTIFY each and every employee or agent of DEFENDANT that YOU spoke
        3   to about the INCIDENT.
        4   SPECIAL INTERROGATORY NO. 9:

        5          Please describe exactly how the INCIDENT occurred.

        6   SPECIAL INTERROGATORY NO. 10:

        7          Please state where YOU were looking at the time of the incident.

        8   SPECIAL INTERROGATORY NO. 11:

        9          Please describe with specificity any problems YOU had with YOUR vision on the date of

       10   the INCIDENT, including any vision assistance devises worn on that date.

       11   SPECIAL INTERROGATORY NO. 12:

       12          Please describe with specificity all items YOU were carrying or pushing at the time of the

       13   INCIDENT.

       14   SPECIAL INTERROGATORY NO. 13:

       15          Please IDENTIFY DEFENDANT’s employees who were within YOUR immediate

       16   vicinity at the time of the INCIDENT.

       17   SPECIAL INTERROGATORY NO. 14:

       18          Please IDENTIFY the employee who was allegedly operating the pallet jack at the time of

       19   the INCIDENT.

       20   SPECIAL INTERROGATORY NO. 15:

       21          Please describe the items on the pallet jack the employee was allegedly operating at the

       22   time of the INCIDENT.

       23   SPECIAL INTERROGATORY NO. 16:

       24          Please state YOUR best estimate of the amount of time that elapsed from the time YOU

       25   arrived at DEFENDANT’s premises on the date of the INCIDENT to the time that YOU were

       26   injured.

       27   ///

       28   ///
2354-9559
                                                            3
                       DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                     PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                              Exhibit 3
                                                                                                                    24
      Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 25 of 31 Page ID #:25


        1   SPECIAL INTERROGATORY NO. 17:

        2          Please state YOUR best estimate of the total amount of time YOU spent at
        3   DEFENDANT’s premises on the date of the INCIDENT.
        4   SPECIAL INTERROGATORY NO. 18:

        5          Describe with specificity the location at DEFENDANT’s premises where the INCIDENT

        6   occurred.

        7   SPECIAL INTERROGATORY NO. 19:

        8          Describe with specificity any warning signs or objects near the area where the INCIDENT

        9   occurred.

       10   SPECIAL INTERROGATORY NO. 20:

       11          Please describe with as much specificity as possible the unsafe or dangerous condition

       12   which YOU allege caused YOUR injury.

       13   SPECIAL INTERROGATORY NO. 21:

       14          If YOU contend DEFENDANT possessed actual knowledge of a dangerous or unsafe

       15   condition, please state with specificity each and every fact that supports YOUR contentions.

       16   SPECIAL INTERROGATORY NO. 22:

       17          If YOU contend DEFENDANT possessed constructive knowledge of the dangerous or

       18   unsafe condition, please state with specificity each and every fact that supports YOUR

       19   contention.

       20   SPECIAL INTERROGATORY NO. 23:

       21          Please state with specificity when YOU first reported the INCIDENT to DEFENDANT.

       22   SPECIAL INTERROGATORY NO. 24:

       23          Please describe the wage loss YOU contend YOU suffered as a result of the INCIDENT.

       24   SPECIAL INTERROGATORY NO. 25:

       25          Please describe the hospital and medical expenses YOU contend YOU suffered as a result

       26   of the INCIDENT.

       27   ///

       28   ///
2354-9559
                                                            4
                        DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                      PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                            Exhibit 3
                                                                                                                  25
     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 26 of 31 Page ID #:26


        1   SPECIAL INTERROGATORY NO. 26:


            I
        2         Please describe the property damage YOU contend YOU suffered as a result of the
        3   INCIDENT.
        4   SPECIAL INTERROGATORY NO. 27:
            I



        5         Please describe the loss of earning capacity YOU contend YOU suffered as a result of the

        6   INCIDENT.

        7   SPECIAL INTERROGATORY NO. 28:
            I




        8         Please state all facts that support YOUR contention that “DEFENDANTS

        9   NEGLIGENTLY, CARELESSLY AND RECKLESSLY HIRED, EMPLOYED, TRAINED

       10   AND RETAINED THEIR EMPLOYEE WHO WHILE OPERATING A PALLET JACK

       11   DURING THEIR SCOPE OF THEIR EMPLOYMENT FOR DEFENDANT, STRUCK

       12   PLAINTIFF WITH THE PALLET JACK” as alleged in the COMPLAINT.

       13   SPECIAL INTERROGATORY NO. 29:
            I




       14         Please IDENTIFY all medical locations YOU sought treatment in the last 10 years for the

       15   same areas of the body YOU allegedly injured in the INCIDENT.

       16   SPECIAL INTERROGATORY NO. 30:
            I




       17         Please IDENTIFY YOUR primary care physician at the time of the INCIDENT.

       18                                             PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
       19
                                                                ~
                                                                            f
       20   Dated: April 29, 2022                     By:       ___________________________________
                                                                Andrew N. Kohn, Esq.
       21                                                       Carey J. Ramin, Esq.
                                                                Attorneys for Defendant
       22                                                       WALMART INC.
       23

       24

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2354-9559
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                      DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                    PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                         Exhibit 3
                                                                                                               26
     Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 27 of 31 Page ID #:27


        1                                       PROOF OF SERVICE
                                          Deniz Felix-Lin v. Walmart Inc., et al.
        2                      Los Angeles County Superior Court Case No. 22STCV09208
        3             I, the undersigned, declare that:
        4          I am and was at the time of service of the papers herein, over the age of eighteen (18)
            years and am not a party to the action. I am employed in the County of San Diego, California,
        5   and my business address is 11622 El Camino Real, Suite 300, San Diego, California 92130.
        6             On April 29, 2022, I caused to be served the following document:
        7         •   DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES
                      PROPOUNDED TO PLAINTIFF DENIZ FELIX-LIN (SET ONE)
        8
        9   [X]       BY ELECTRONIC DELIVERY (Code Civ. Proc. § 1010.6 and Cal. Rules of Court,
                      rule 2.251): Based on an agreement between the parties to accept service by e-mail or
       10             electronic transmission, I caused such document(s) to be electronically served to those
                      parties listed below from e-mail address lzamroa@pettitkohn.com. The file transmission
       11             was reported as complete and a copy of the Service Receipt will be maintained with the
                      original document(s) in our office.
       12

       13   Krystale Rosal, Esq.
            FIORE LEGAL, INC.
       14   136 E. Lemon Avenue
            Monrovia, CA 91016
       15   Tel: (626) 856-5856
            Fax: (626) 386-5520
       16   Email: krosal@fiorelegal.com
            Attorneys for Plaintiff
       17   DENIZ FELIX-LIN

       18
                   I declare under penalty of perjury under the laws of the State of California that the
       19   foregoing is true and correct.

       20             Executed on April 29, 2022, at San Diego, California.

       21

       22                                                 Luis Zamora

       23

       24

       25

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2354-9559
                                                              6
                         DEFENDANT WALMART INC.’S SPECIAL INTERROGATORIES PROPOUNDED TO
                                       PLAINTIFF DENIZ FELIX-LIN (SET ONE)

                                                                                                             Exhibit 3
                                                                                                                   27
Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 28 of 31 Page ID #:28




             Publicly Traded Disclosure Information
               ..... .        .
                Corporation Name:                                                                  WALMART INC.
                Corporation Number:                                                                   1634374
                Bankruptcy:                                                                                N
                Legal Proceedings (Materia l pending legal proceeding(s))                                  y
                Legal Proceedings (Legally liable in any material legal proceeding(s))                     y


                t    •        •       .   •   ••


                Prepared most recent auditor's report:                                       ERNST & YOUNG LLP
                Employed by the corporation as of the date of the statement:


              BOARD OF DIRECTOR INFORMATION

                Number of Fema le Directors on the Board:                                    3 or More Directors
                Number of Underrepresented Direct ors on the Board:


              DIRECTORS AND EXECUTIVE OFFICERS

                         Name                  Compensation   Shares   Options     Bankruptcy      Fraud            Title


              I          CESAR
                         CONDE
                                                   100,000    1,433       0              N           N             Director



              I     TIMOTHY P.
                      FLYNN
                                                   124,990    1,433       0              N           N             Director



              I      SARAH J.
                      FRIAR
                                                   119,865    1,433       0              N           N             Director



              I      CARLA A.
                      HARRIS
                                                   99,948     1,433       0              N           N             Director



              I     THOMASW.
                     HORTON
                                                   155,000    1.433       0              N           N             Director



              I     MARISSA A.
                     MAYER
                                                   100,0 12   1,433       0              N           N             Director



              I     GREGORY B.
                     PENNER
                                                   212.713    2,354       0              N           N             Direct or



              I      STEVEN 5
                    REI NEMUN D
                                                   122,129    1,433       0              N           N             Director




              ■
                    5. ROBSON                      100,000    1.433       0              N           N             Direct or
                     WALTON
                          ' ,.
                          ,       .                119,865    1,433       0              N           N             Director

                                                                                                                            >




                                                                                                                                Exhibit 4
                                                                                                                                      28
          Case 2:22-cv-04354-FMO-MAR
Arkansas Secretary of State                                    Document 1 https://www.sos.arkansas.gov/corps/search_corps.php?DETAIL=9117&c...
                                                                          Filed 06/24/22 Page 29 of 31 Page ID #:29


                                l l



          Search Incorporations, Cooperatives, Banks and Insurance Companies
          This is only a preliminary search and no guarantee that a name is available for initial filing
          until a confirmation has been received from the Secretary of State after filing has been processed
          Please review our NAME AVAILABILITY GUIDELINES HERE prior to searching for a new entity name.

          Printer Friendly Version
          LLC Member information is now confidential per Act 865 of 2007

          Use your browser's back button to return to the Search Results

          Begin New Search
                                       For service of process contact the Secretary of State's office.


                                       Corporation Name                         WALMART INC.

                                       Fictitious Names                         BUD'S DISCOUNT CITY
                                                                                BUD'S WAREHOUSE OUTLET
                                                                                BUD'S WAREHOUSE OUTLET
                                                                                FORT SMITH REMARKETING
                                                                                SAM'S CLUB
                                                                                SAM'S WHOLESALE CLUB
                                                                                WAL-MART
                                                                                WAL-MART AVIATION
                                                                                WAL-MART EXPRESS
                                                                                WAL-MART NEIGHBORHOOD MARKET
                                                                                WAL-MART NEIGHBORHOOD MARKET
                                                                                WAL-MART SUPERCENTER
                                                                                WAL-MART SUPERCENTER
                                                                                WAL-MART SUPERCENTER
                                                                                WAL-MART SUPERCENTER #1147
                                                                                WAL-MART SUPERCENTER #8
                                                                                WAL-MART VACATIONS
                                                                                WALTON LIFE FITNESS CENTER

                                       Filing #                                 100067582

                                       Filing Type                              Foreign For Profit Corporation

                                       Filed under Act                          For Bus Corp; 958 of 1987

                                       Status                                   Good Standing

                                       Principal Address

                                       Reg. Agent                               C T CORPORATION SYSTEM

                                       Agent Address                            124 WEST CAPITOL AVENUE, SUITE 1900

                                                                                LITTLE ROCK, AR 72201

                                       Date Filed                               03/31/1970

                                       Officers                                 SEE FILE, Incorporator/Organizer
                                                                                RICKY YOUNG , Tax Preparer
                                                                                C DOUGLAS MCMILLON , President
                                                                                RACHEL BRAND , Secretary
                                                                                WAYNE HAMILTON , Vice-President
                                                                                AMANDA WHALEN , Treasurer
                                                                                DAVID CHOJNOWSKI , Controller

                                       Foreign Name                             N/A

                                       Foreign Address                          702 SW 8TH STREET
                                                                                BENTONVILLE, AR 72716

                                       State of Origin                          DE


                                       Purchase a Certificate of Good           Pay Franchise Tax for this corporation
                                       Standing for this Entity




1 of 1                                                                                                                      6/13/2022, 12:57 PM
                                                                                                                                     Exhibit 5
                                                                                                                                           29
                         Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 30 of 31 Page ID #:30


     Business            ucc


                               Business Search
                               The California Business Search provides access to available information for corporations, limited liability companies and limited partnerships of record with the California Secrecary of
                               State, with free PDF copies of over 17 million imaged business entity documents, including the most recent imaged Statements of Information filed for Corporations and Limited Liability
                               companies.

                               Currently, information for Limited Liability Partnerships (e.g. law firms, architecture firms, engineering firms, public accountancy firms, and land survey firms), General Partnerships, and
                               other entity types are not contained in the California Business Search. If you wish to obtain information about LLPs and GPs, submit a Business Entities Order paper form to request copies
                               of filings for these entity types. Note: This search is not intended to serve as a name reservation search. To reserve an entity name, select Forms on the left panel and select Entity Name
                               Reservation? Corporation, LLC, LP.

                               Basic Search

                                   • A Basic search can be performed using on entity name or entity number. When conducting a search by an entity number, where applicable, remove "'C"from the entity number. Note, a basic
                                     search will search only ACTIVE entities (Corporations, limited Liab;/;ty Companies, Limited Partnerships, Cooperatives, Name Reservations, Foreign Name ReseNations, Unincorporated Common
                                     Interest Developments, and Out of State Associations). The basic search performs a contains ?keyword? search. The Advanced search allows for a ?starts with? filter. To search entities that have a
                                     status other than active or to refine search criteria, use the Advanced search feature.


                               Advanced Search

                                   • An Advanced search is required when searching for publicly traded disclosure information or o status other than active.
                                   • An Advanced search allows for searching by specific entity types (e.g., Nonprofit Mutual Benefit Corporation) or by entity groups (e.g., All Corporations) as weJ/ as searching by ?begins with? specific
                                     search criteria.

                               Disclaimer: Search results are limited to the 500 entities closest matching rhe entered search criteria. If your desired search result is not found within the 500 entities provided, please refine
                               the search criteria using the Advanced search function for additional results/entities. The California Business Search is updated as documents are approved. The data provided is not a
                               complete or certified record.

                               Although every attempt has been made to ensure that the information contained in the database is accurate, the Secrecary of State's office is not responsible for any loss, consequence, or
                               damage resulting directly or indirectly from reliance on the accuracy, reliability, or timeliness of the information that is provided. All such information is provided "as is.• To order certified
                               copies or certificates of status, (1 J locate an entity using the search: (2Jselect Request Certificate in the right-hand decail drawer: and /3) complete your request online.

                                                                                     Walmart Store #2292
                                                                                                                                                                         Advanced v
                                                                                                                                                                                   El


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                                                                                       No results were found for "Wal mart Store #2292"
                                                                               Try your search again with different filters or a different search term.




                                                                                                                                                                                                                                                 Exhibit 6
                                                                                                                                                                                                                                                       30
   Case 2:22-cv-04354-FMO-MAR Document 1 Filed 06/24/22 Page 31 of 31 Page ID #:31



        1         8.     Plaintiff claims the amount in controversy exceeds $75,000.
        2   (Exhibit 2, Plaintiff’s response to Request for Admission No. 1.)
        3         9.     Plaintiff’s response to written discovery regarding Plaintiff’s
        4   California citizenship and amount in controversy was served to Walmart on
        5   May 31, 2022. Removal is timely under 28 U.S.C. section 1446 (b) because this
        6   Notice of Removal is filed within 30 days of Walmart receiving the responses to
        7   discovery showing that the case is removable.
        8         10.    Because the State Action is pending in the Superior Court of California
        9   in and for the County of Los Angeles, removal of this action to this District Court is
       10   proper under 28 U.S.C. section 1441 (a).
       11         11.    Written notice of the filing of this Notice of Removal will be promptly
       12   served on Plaintiff. A true and correct copy of this Notice of Removal and the
       13   concurrently-filed Notice of Interested Parties and Civil Cover Sheet will be filed
       14   with the Clerk of the Superior Court of the State of California in and for the County
       15   of Los Angeles as soon as practicable.
       16         WHEREFORE, Walmart requests that the above-entitled action be removed
       17   from the Superior Court of the State of California, County of Los Angeles, to this
       18   District Court.
       19                                   PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
       20

       21   Dated: June 24, 2022            By:      s/ Carey J. Ramin
                                                     Andrew O. Smith, Esq.
       22                                            Carey J. Ramin, Esq.
                                                     Attorneys for Defendant
       23                                            WALMART INC.
                                                     aosmith@pettitkohn.com
       24                                            cramin@pettitkohn.com
       25

       26

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2354-9559                                               3
                                                               NOTICE OF REMOVAL OF ACTION
                                                                         CASE NO. 2:22-CV-4354
